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                              EXHIBIT 6
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                                      DECLARATION OF R.B.


  I, R.B., declare and state the following:
      1. I am 18 years old. I am currently living in Corpus Christi, Texas, with my mom.

      2. I am originally from Guatemala, but I came to the United States with my mom when I

         was young.

      3. When I was 13, I got picked up by immigration authorities. I had run away from home

         and I was living in Rio Grande City at the time.

     4. I stayed in a sorting facility for one night, and then I was sent to Nueva Esperanza, a staff

         secure facility in Brownsville, Texas. From there I was moved to a juvenile facility in

         Newark, New Jersey. I stayed there for about two months, but I staTted losing it. I was

         sad because I hadn't seen my mom in a long time. I had a Jot of anger problems, and it

         was really hard.

     5. I told the guards I wanted to hwt myself, and they sent me to Sandy Pines, a hospital in

         West Palm Beach, Florida. The guards at Newark told me they were sending me away

         because I needed help, and they didn't have the right resources there.

     6. A few months later, I was sent to Shenandoah because of behavioral problems. I lit a

         piece of toilet paper on fire using lead from a pencil. I burned it in the sink, right under

         the faucet, and I put it out in a matter of seconds. I wasn't trying to start something, I

         was just showing off. I also got into a fight with my roommate that night. Two or three

         days later, they told me I was being transfened. They didn't tell me where I was going. I

         was 14 at the time.

     7. I was at Shenandoah for a little over three months. After being there for two months, I

         escaped while I was being transported to a doctor's office. I was so sad, I felt worthless
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        and I didn't feel like I had anything to live for. In Shenandoah, they locked me in a room

        that was 8x10, or maybe 8xl6, for 23 hours a day, all by myself. It' s not good for a

        person to be isolated that long. I started talking to myself.

     8. I wasn ' t myself after that. When I left home I was just a little boy, but being there

        changed me. I'm not optimistic any more. Even now, my mom tells me that I changed a

        lot, that I'm not the same person. I rarely go out with friends. I just spend time with my

        family now.

     9. When I was at Shenandoah, at least once a week, I had to fight - with a guard, another

        kid, or anybody who wanted to fight me-.because I was so angry. They didn't tell me

        anything about what was going on with my case or when I was goiJ1g to leave. Not

        knowing anything month after month drove me crazy.

     10. When I got in fights, the guards at Shenandoah would grab my arms and put them behind

        my back. They would cross my elbows and put pressure on them. Then they would fold

        my knees and push me down. It hurt, so I fought back to relieve the pressure. I told

        them, " If you just let me go a little bit, I'll calm down," but they wouldn't do it.

     11. When they couldn't get one of the kids to calm down, the guards would put us in a chair

        - a safety chair, I don't know what they call it - but they would just put us in there all

        day. This happened to me, and I saw it happen to others too. It was excessive.

     12. At other detention facilities where I had been, the staff would treat us differently when

        we were angry. They would tell me to calm down and then slowly let me go, and then

        they would take me to my room so I could punch a wall or something. The guards at

        Shenandoah would say, "calm down, calm down" and I would say " I just got punched in

        the face, why you want me to calm down?" AJ1d then they would put me in the chair.



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      13. I was put in this chair 4-6 times I guess. The longest time I was in it was probably half a

         day, or two shifts. I was really mad that time. I was young, I had a lot of problems.

      14. The chair is painful. Imagine a little rocking chair with straps for your head, elbows,

         legs, feet; you could turn your head a little from side to side, but you can barely move it

         in. It ' s a metal chaiT that has two little wheels in the back, so they can lean it back and

         transfer it, like a dolly.

      15. This is embarrassing, but on one occasion, I had to pee, and they wouldn't let me, so I

         just went on myself. I know one or two other kids this happened to as well; they peed on

         themselves while they were in the chair.

     16. One time they put a mask on my face because I spit on the guard when I was strapped

         clown. I know now that was bad , but you have to understand there was nothing you could

         do, except move your head back and forth, while you were in the chair. The mask is like

         a white veil I guess, or a net for your hair - it has a million little holes in it. You can see

         through it and breathe through it.

     17. I also got placed on room restriction a lot. If me and another minor got into a fight,

         they'd put us on room restriction for 3, 4, 5 days at a time. When you were on room

         restriction, when they woke you up at 6 or 7 am, they'd take your mattress away, and

         wouldn't give it back until room checks at the end of the day. They would leave you in

         your room with nothing but a book and a Bible, but no mattress - so you can't sleep,

         because you would just be laying on the concrete. I started talking to myself and banging

         my head against the wall. I felt like I was going crazy, and I would do anything to get the

         guard's attention.




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      18. The guards never picked fights with me, but I saw it happen with other kids. They would

         say things to them and challenge them until the kids got really mad and fought back.

         Then the kids would push the guard, and then the guard would grab both of the kid's

         arms and try to force them into a restraint. The guards were twice the size of the kids,

         who were 13 or 14 years old, but they would use their full weight to push them to the

         ground. Sometimes it was two guards doing this to a little kid.

      19. Before I was at Shenandoah, I had been diagnosed with ADI-ID and prescribed

         medications for it, but that was it. When I came to Shenandoah, they told me I had

         bipolar disorder and PTSD. At first I didn't even take medicine, but they made me think

         I needed it - sleeping pills, Seroquel, and a bunch of others. They keep you drugged

         there.

     20. Now I just take melatonin to help me sleep, nothing else. I don't need any anti-psychotic

         drugs.

     21. l declare, under penalty of pe1:jury, that al I the information I have provided here is true

         and correct to the best of my knowledge, and I am aware of the legal consequences of

         making a false declaration.




  Executed this 8th day of January, 2018, in Corpus Christi, Texas




                                                                         R.B.




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